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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA

VS. CRIMINAL NO. 4:15-CR-15-2

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RICHARD ARTHUR EVANS
JURY NOTE NUMBER 3

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KENNETH M. HoYT l/
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